                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 UNITED STATES OF AMERICA
                                                 CASE NO. 3:17CR134- FDW-DSC
         v.

 LAMONTE KENTRELL LLOYD

                            Defendant.



                                         ORDER

       THIS MATTER is before the Court for appointment of Learned Counsel for

Lamonte Kentrell Lloyd in accordance with 18 U.S.C. § 3005. In consultation with the

Federal Defender, the Court concludes that the following attorney is an experienced

practitioner qualified to be Learned Counsel and has already served as Learned Counsel in

this District.

       IT IS THEREFORE ORDERED that Christopher Adams is appointed Learned

Counsel for Lamonte Kentrell Lloyd. Second chair will also be appointed for Mr. Lloyd

after Mr. Adams makes his appearance.

       SO ORDERED.
                                Signed: June 6, 2017




                                             1




   Case 3:17-cr-00134-FDW-SCR         Document 405      Filed 06/06/17   Page 1 of 1
